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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                   NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     JOHN STOSSEL,                                     Case No. 21-cv-07385-LHK
                                                         Plaintiffs,                       ORDER REASSIGNING CASE
                                   5
                                                 v.
                                   6

                                   7     FACEBOOK INC., et al.,
                                                         Defendants.
                                   8

                                   9

                                  10          On December 13, 2021, the Honorable Lucy H. Koh’s nomination to the United States

                                  11   Court of Appeals for the Ninth Circuit was confirmed by the United States Senate.

                                  12          Accordingly, IT IS ORDERED that this case is reassigned to the Honorable Virginia K
Northern District of California
 United States District Court




                                  13   DeMarchi in the San Jose division for all further proceedings. Counsel are instructed that all

                                  14   future filings shall bear the initials VKD immediately after the case number.

                                  15           All hearing and trial dates presently scheduled remain unchanged, but may be reset as

                                  16   necessary by separate order of the Honorable Virginia K DeMarchi. Existing briefing schedules

                                  17   for motions remain unchanged. Other deadlines such as those for ADR compliance and discovery

                                  18   cutoff also remain unchanged.

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                                  20   Dated: 1/7/2022                                  FOR THE EXECUTIVE COMMITTEE

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                                                                                        Richard Seeborg
                                  23                                                    Chief District Judge
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